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                         FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         UNITED STATES OF AMERICA,                 No. 22-56014

                      Plaintiff-Appellant,          D.C. No.
          v.                                     5:18-cv-01005-
                                                    JGB-KK
         CALIFORNIA STEM CELL
         TREATMENT CENTER, INC., a
         California corporation; CELL               OPINION
         SURGICAL NETWORK
         CORPORATION, a California
         corporation; ELLIOTT B. LANDER,
         M.D., individual; MARK BERMAN,
         M.D., individual,

                      Defendants-Appellees.

               Appeal from the United States District Court
                   for the Central District of California
                Jesus G. Bernal, District Judge, Presiding

                 Argued and Submitted February 7, 2024
                          Pasadena, California

                        Filed September 27, 2024

         Before: Kim McLane Wardlaw, Michelle T. Friedland, and
                      Jennifer Sung, Circuit Judges.
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             Judge Friedland delivered the opinion of the Court as to
         Parts I, II, III.A, and III.B, in which Judge Wardlaw and
         Judge Sung joined. Judge Sung delivered the opinion of the
         Court as to Part III.C, in which Judge Wardlaw joined. Judge
         Friedland filed a concurring opinion in the result as to Part
         III.C.


                                   SUMMARY*


                        Food, Drug, and Cosmetic Act

             The panel reversed the district court’s judgment
         following a bench trial in favor of Defendants, doctors who
         create and administer a stem cell mixture called stromal
         vascular fraction (“SVF”), in the Food and Drug
         Administration’s action alleging that Defendants were
         violating the Food, Drug, and Cosmetic Act (“FDCA”) by
         improperly manufacturing and labeling SVF.
             Under the FDCA, 21 U.S.C. § 301 et seq., the FDA is
         tasked with ensuring that “drugs” are safe and effective.
         Under the FDCA and the Public Health Service Act, 42
         U.S.C. § 201 et seq., the FDA also regulates human cells,
         tissues, and cellular and tissue-based products, abbreviated
         as “HCT/Ps.”
            In Part III.B of the opinion, the panel held that
         Defendants’ SVF constitutes a “drug” under the FDCA
         based on the plain text of the statute.


         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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             In Part III.C of the opinion, the panel rejected
         Defendants’ argument that even if SVF is a “drug,” their
         same-day SVF treatment for patients is completely exempt
         from FDA regulation under the “same surgical procedure”
         exception (“SSP exception”), which applies to “an
         establishment that removes HCT/P’s from an individual and
         implants such HCT/P’s into the same individual during the
         same surgical procedure.” 21 C.F.R. § 1271.15(b). Because
         the text of the HCT/P regulations does not provide a clear
         answer to the meaning of the SSP exception, the panel
         examined the SSP exception’s context and structure and
         resolved the seeming textual ambiguity in the FDA’s favor.
         The SSP exception applies to a procedure only if the
         removed HCT/P and the implanted HCT/P are the same. For
         Defendants’ SVF procedure, the removed HCT/P is the fat
         tissue, not the cells targeted for implantation. Because the
         SVF procedure removes fat tissue but implants SVF, the
         procedure is not exempt from regulation under the SSP
         exception.
              Concurring in the result of Part III.C, Judge Friedland
         agreed with the majority’s conclusion that Defendants’
         same-day version of the SVF treatment did not fall under the
         SSP exception, but she would arrive at this conclusion for a
         different reason. After examining the HCT/P regulations’
         text, structure, purpose, and history, she would hold that the
         SSP exception is genuinely ambiguous, and that the court
         owes Auer deference to the FDA’s reasonable interpretation
         of the SSP exception such that Defendants’ treatments do not
         fall under the SSP exception.
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                                   OPINION

         FRIEDLAND, Circuit Judge:

             This case requires us to decide whether the Food and
         Drug Administration can regulate certain stem cell mixtures
         advertised as treatments for a host of medical conditions.
         Defendants are doctors who create such a mixture by
         removing fat tissue from a patient and breaking it down to
         concentrate the portion containing stem cells. The result is
         a mixture of stem cells, other types of cells, and cell debris
         called stromal vascular fraction (“SVF”), which they then
         administer to the patient. For example, Defendants inject
         SVF directly into a patient’s knee to treat osteoarthritis. In
         recent years, clinics offering similar stem cell mixtures have
         proliferated despite concerns over whether such treatments
         are safe and effective.
             After inspecting Defendants’ two clinics, the FDA
         brought this lawsuit, claiming various violations of the
         Federal Food, Drug, and Cosmetic Act. Defendants argue
         that their SVF is not a “drug” within the meaning of the Act
         and that, even if it is, some of their uses of SVF fall under an
         exception from FDA regulation for certain surgical
         procedures. We reject both arguments. Accordingly, we
         reverse the district court’s entry of judgment in favor of
         Defendants.
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                                       I.
                                      A.
             Defendants are two California-licensed physicians and
         the entities they co-founded: the California Stem Cell
         Treatment Center and the Cell Surgical Network. The
         California Stem Cell Treatment Center operates two clinics
         in Beverly Hills and Rancho Mirage. At those clinics, as part
         of what they call “patient-funded investigational research,”
         Defendants offer stem cell treatments to “[p]atients who are
         looking for non-surgical alternatives to their degenerative
         disorders.” Defendants advertise that they have “technology
         to produce a solution rich with your own stem cells” that
         they say can alleviate dozens of medical conditions,
         including Alzheimer’s, arthritis, asthma, cancer, macular
         degeneration, multiple sclerosis, heart problems, pulmonary
         problems, Crohn’s, Parkinson’s, and erectile dysfunction.
         The treatments are not covered by insurance, so patients pay
         out of pocket. A single treatment typically costs $8,900, and
         a twelve-treatment option costs $41,500. Defendants have
         treated thousands of patients.
             Through the Cell Surgical Network, Defendants also
         operate a network for “physicians who want[] to bring
         regenerative medicine into their own practices.” Affiliates
         agree to follow Defendants’ treatment protocol and pricing
         guidelines; share “research data”; and purchase Defendants’
         equipment for isolating cells, called the “Time Machine,” for
         about $30,000.
             The substance that Defendants produce is called
         “stromal vascular fraction,” or “SVF.” SVF is “a liquified
         mixture of cells and cell debris” derived from fat tissue. Fat
         tissue, which looks a bit like honeycomb when magnified, is
         a connective tissue primarily made up of fat cells. Fat tissue
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         also comprises many other types of cells, including
         mesenchymal stem cells. Most of the cells are embedded in
         an “extracellular matrix,” a structure made partly of collagen
         fibers that holds the cells in place. Fat tissue also contains
         interspersed blood vessels.
             Defendants derive SVF from fat tissue using a multi-step
         process. First, after administering local anesthesia to a
         patient, Defendants use liposuction to remove fat tissue. The
         retrieved tissue is then centrifuged (spun at high speed) to
         separate and remove blood and anesthesia. The next step is
         called “enzymatic digestion.” An enzyme blend is added to
         the tissue, and during a thirty-minute incubation period, the
         enzymes break down the extracellular matrix (the tissue’s
         structural components). During this period, cells detach
         from the matrix and become free-floating. Through another
         round of centrifugation, the fat cells, which made up the bulk
         of the tissue, are removed and discarded. What is left is
         repeatedly flushed with a solution to wash away as much of
         the enzyme blend as possible and centrifuged to concentrate
         the remaining cells. The resulting “slurry” is pushed through
         a filter to remove the broken-down structural components.
         The end result, SVF, is a concentrated mixture of many types
         of cells, including stem cells, and cell debris. Defendants
         administer it in a variety of ways, including by injection,
         intravenous drip, and inhalation.
             That entire process is sometimes done on one day: The
         patient undergoes liposuction, waits for the tissue to be
         processed, and receives SVF all during one visit. But in the
         “expanded” version, the collected tissue is not processed
         onsite. Instead, the tissue is sent to a cell bank for processing
         and the cells are replicated (“expanded”) for later use in the
         same patient.
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                                      B.
             In 2017, the FDA inspected the California Stem Cell
         Treatment Center clinics. The inspectors concluded that the
         clinics were manufacturing and administering unapproved
         drug products. They found violations of the FDA’s
         manufacturing requirements and a lack of proper
         documentation of adverse health events related to the clinics’
         SVF treatments.
             In 2018, the FDA filed this lawsuit and sought injunctive
         relief, alleging that Defendants were violating the Food,
         Drug, and Cosmetic Act by improperly manufacturing and
         labeling SVF. After a seven-day bench trial, the district
         court entered judgment in favor of Defendants, holding that
         Defendants’ treatments were not subject to FDA regulation.
         The district court held that Defendants’ SVF is not a “drug”
         under federal law, reasoning that “Defendants are engaged
         in the practice of medicine, not the manufacture of
         pharmaceuticals.” The court also alternatively held, as to the
         same-day procedure, that Defendants’ use of SVF falls
         within an exception to regulation for certain surgical
         procedures. That holding was based on the court’s factual
         finding that the cells in the same-day SVF “are not altered,
         chemically or biologically” and that the procedure “does not
         create any new material or introduce any foreign article” into
         the body. The FDA timely appealed.
                                      II.
            We review a district court’s conclusions of law de novo
         and its findings of fact for clear error. Yu v. Idaho State
         Univ., 15 F.4th 1236, 1241-42 (9th Cir. 2021).
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                                           III.
                                            A.
             Under the Food, Drug, and Cosmetic Act (“FDCA”), 21
         U.S.C. § 301 et seq., the FDA is tasked with ensuring that
         “drugs” are safe and effective, as part of its mission to
         protect public health. FDA v. Brown & Williamson Tobacco
         Corp., 529 U.S. 120, 133-34 (2000) (citing 21 U.S.C.
         § 393(b)(2)); see also Wyeth v. Levine, 555 U.S. 555, 574
         (2009) (“Congress enacted the FDCA to bolster consumer
         protection against harmful products.”).
             The FDCA requires all new drugs to receive premarket
         approval from the FDA, which in turn requires drug
         manufacturers to demonstrate each drug’s safety and
         efficacy through clinical trials. See Wyeth, 555 U.S. at 566;
         Merck KGaA v. Integra Lifesciences I, Ltd., 545 U.S. 193,
         196 (2005) (citing 21 U.S.C. § 355). The FDCA also
         prohibits any act while a drug is being “held for sale . . . after
         shipment in interstate commerce” that results in the drug
         being “adulterated or misbranded.”1 21 U.S.C. § 331(k). As
         relevant here, a drug is “adulterated” if it is manufactured or
         handled without contaminant controls or does not conform
         to standards of quality, strength, and purity. Id. § 351. And
         a drug is “misbranded” if it lacks adequate directions for use
         or bears false or misleading labeling. Id. § 352.
            Under the FDCA and the Public Health Service Act
         (“PHSA”), 42 U.S.C. § 201 et seq., the FDA also regulates

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           The phrase “held for sale” applies to physicians “engaged in the
         business of providing medical services in exchange for payment.”
         United States v. Kaplan, 836 F.3d 1199, 1210 (9th Cir. 2016). “[T]he
         ‘shipment in interstate commerce’ requirement is satisfied even when
         only an ingredient is transported interstate.” Baker v. United States, 932
         F.2d 813, 814 (9th Cir. 1991).
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         “human cells, tissues, and cellular and tissue-based
         products,” abbreviated as “HCT/Ps.” 21 C.F.R. § 1271.1(a);
         Human Cells, Tissues, and Cellular and Tissue-Based
         Products; Establishment Registration and Listing, 66 Fed.
         Reg. 5447, 5449 (Jan. 19, 2001). HCT/Ps are defined as
         “articles containing or consisting of human cells or tissues
         that are intended for implantation, transplantation, infusion,
         or transfer into a human recipient.” 21 C.F.R. § 1271.3(d).
         FDA regulations give as examples bone, ligament, skin,
         cornea, stem cells derived from blood, and reproductive
         tissue. Id.
             The FDA has a “tiered, risk-based approach” to
         regulating HCT/Ps. 66 Fed. Reg. at 5448. That approach
         employs a hierarchy of oversight—full, limited, or no
         oversight—based on the FDA’s assessment of the types of
         health risks posed by different categories of HCT/Ps.
         HCT/Ps at the top of the hierarchy are fully regulated as
         “drugs” under the FDCA, and/or as “biological products”
         under the PHSA, and are thus subject to premarket approval.
         21 C.F.R. § 1271.20. HCT/Ps that meet certain criteria, such
         as being only “minimally manipulated,” fall in the middle of
         the hierarchy and need only comply with regulations aimed
         at preventing the spread of infectious disease promulgated
         under the PHSA. See id. § 1271.10; 66 Fed. Reg. at 5449.
         Finally, HCT/Ps at the bottom of the hierarchy are not
         subject to any FDA oversight, even if they would otherwise
         be regulated as drugs under the FDCA.2 21 C.F.R.
         § 1271.15. As relevant to this case, the bottom category
         includes HCT/Ps that are removed from and implanted into

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           The FDA treats HCT/Ps falling in the bottom category as excepted from
         all FDA regulation even though the text refers only to being excused
         from the requirements in “this part.” See 21 C.F.R. § 1271.15(b).
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         the same patient during the same surgical procedure. Id.
         § 1271.15(b).
                                        B.
             The parties first dispute whether Defendants’ SVF
         constitutes a “drug” under the FDCA. Based on the plain
         text of the statute, we agree with the FDA that Defendants’
         SVF is a drug.
             “[T]he word ‘drug’ is a term of art for the purposes of
         the [FDCA].” United States v. Article of Drug, Bacto-
         Unidisk, 394 U.S. 784, 793 (1969). “Drug[s]” are defined in
         the Act as “articles intended for use in the diagnosis, cure,
         mitigation, treatment, or prevention of disease,” or “intended
         to affect the structure or any function of the body.” Id. at
         789 (quoting 21 U.S.C. § 321(g)(1)). An “article” is just a
         general term for “a particular thing.” Samsung Elecs. Co. v.
         Apple Inc., 580 U.S. 53, 59 (2016) (quoting J. Stormonth, A
         Dictionary of the English Language 53 (1885)). Defendants
         administer a particular thing—a liquified concentrate of cells
         and cell debris. And they do so with the undisputed intent,
         as reflected in their marketing, to treat a long list of diseases
         and to affect structures of the body, such as to regenerate
         cartilage.
             Considering a similar stem cell treatment in United
         States v. Regenerative Sciences, LLC, 741 F.3d 1314 (D.C.
         Cir. 2014), the D.C. Circuit likewise held that the “plain
         language” of the FDCA compelled the conclusion that the
         stem cell mixture in that case was a “drug” under the FDCA.
         Id. at 1319. There, doctors extracted bone marrow or fluid
         from joints, isolated and cultured stem cells, combined the
         cells with an antibiotic to prevent bacterial contamination,
         and reinjected the mixture to treat orthopedic conditions. Id.
         at 1318. Although Defendants’ treatment here does not
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         involve an antibiotic and does not always involve culturing,
         the D.C. Circuit’s holding that the mixture in its case was a
         “drug” did not hinge on those aspects of the treatment. See
         id. at 1319. The court simply reasoned that the FDCA’s
         “wide-ranging definition[] clearly appl[ied] to the Mixture,
         an article derived mainly from human tissue and intended to
         treat orthopedic diseases and to affect musculoskeletal
         function.”3 Id.
             Defendants do not seem to dispute that the “admittedly
         capacious” language of the FDCA, read literally,
         encompasses their treatments. Instead, they assert that the
         definition should not be read literally because its breadth is
         intolerable. But the Supreme Court has instructed that it is
         error to “refuse[] to apply the [FDCA’s] language as
         written,” holding that “Congress fully intended that the Act’s
         coverage be as broad as its literal language indicates—and
         equally clearly, broader than any strict medical definition
         might otherwise allow.” Bacto-Unidisk, 394 U.S. at 798.
         The Court explained that “remedial legislation such as the
         [FDCA] is to be given a liberal construction consistent with
         the Act’s overriding purpose to protect the public health.”
         Id.
            Defendants conjure purportedly “absurd” results of a
         broad interpretation of “drugs,” painting a picture of doctors
         having to pause during a vein graft to measure the vein’s

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           The D.C. Circuit in Regenerative Sciences also held that the stem cell
         mixture was a “biological product” under the PHSA. 741 F.3d at 1319
         (citing 42 U.S.C. § 262(i)(1)). We are not presented in this appeal with
         the question whether Defendants’ SVF falls under the PHSA, and the
         FDA has made no arguments based on the PHSA’s definition of a
         biological product. But we note that a product can be both a drug under
         the FDCA and a biological product under the PHSA. See id. at 1319 &
         n.1; see also 42 U.S.C. § 262(j); 21 U.S.C. § 353(g)(1)(A).
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         active ingredients or adhere a drug label. But “[t]he scope
         of the offense which Congress defined [in the FDCA] is not
         to be judicially narrowed as applied to drugs by envisioning
         extreme possible applications.” United States v. Sullivan,
         332 U.S. 689, 694 (1948). And the FDA has flexibility to
         tailor its specific requirements upon approval of a new drug.4
         Id. at 695; see also, e.g., 21 U.S.C. § 352(e)(1)(B), (f)
         (explaining that exemptions from labeling requirements may
         be established). Hypothesized extreme applications of
         specific requirements are not a reason to infer that
         Defendants’ SVF is not a “drug” under the FDCA.
             Defendants next argue that this interpretation of “drugs”
         would impermissibly intrude upon the practice of medicine,
         which is regulated by the states. But in United States v.
         Kaplan, 836 F.3d 1199 (9th Cir. 2016), we rejected
         essentially the same argument. There, we held that a doctor
         could be criminally prosecuted under the FDCA for reusing
         in biopsies a “needle guide” that was intended for single use
         only. Id. at 1208-11. We explained that “[t]hough the
         regulation of the practice of medicine is delegated to the
         states, when a physician misuses medical devices and
         threatens public health, the physician may run afoul of the
         [FDCA].” Id. at 1203; see also United States v. 9/1 Kg.
         Containers, More or Less, of an Article of Drug for
         Veterinary Use, 854 F.2d 173, 176 (7th Cir. 1988) (“To
         regulate drugs is to be ‘involved’ in the ‘practice of the
         healing arts.’”); United States v. Evers, 643 F.2d 1043, 1048
         (5th Cir. 1981) (“Of course, while the [FDCA] was not

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           Indeed, the FDA has used its flexibility with respect to other autologous
         (i.e., same-patient) stem cell treatments that have gone through the
         FDA’s approval process for biological products. See, e.g., FDA,
         ZYNTEGLO, https://www.fda.gov/
         vaccines-blood-biologics/zynteglo.
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         intended to regulate the practice of medicine, it was
         obviously intended to control the availability of drugs for
         prescribing by physicians.”).
             Kaplan also invoked the D.C. Circuit’s decision in
         Regenerative Sciences, which rejected an argument that “the
         FDA was improperly attempting to regulate the practice of
         medicine by regulating the stem cell procedure.” Kaplan,
         836 F.3d at 1210 (describing Regenerative Scis., 741 F.3d at
         1319). The D.C. Circuit reasoned that the FDA’s focus was
         the stem cell mixture, not the doctor’s performance of any
         procedure. Regenerative Scis., 741 F.3d at 1319. The court
         noted that the FDCA’s regulatory scheme clearly applies to
         doctors—evidenced by the fact that the Act has specific
         carve-outs for doctors that “would be unnecessary if the
         FDCA did not otherwise regulate the distribution of drugs
         by licensed physicians.” Id. at 1319-20. And the court
         observed that narrowing the scope of the FDCA “by
         classifying the distribution of drugs by doctors as the
         practice of medicine” would “create an enormous gap in the
         FDCA’s coverage.” Id. at 1320. Adopting the reasoning of
         Regenerative Sciences, we explained in Kaplan that the
         defendant doctor’s practice-of-medicine arguments were
         “wide of the mark.” 836 F.3d at 1210 (quoting Regenerative
         Scis., 741 F.3d at 1319). Kaplan forecloses Defendants’
         similar argument here.
             As a final effort to resist the FDA’s interpretation,
         Defendants invoke the major questions doctrine, which,
         when it applies, requires an agency to “point to ‘clear
         congressional authorization’ for the power [the agency]
         claims.” West Virginia v. EPA, 597 U.S. 697, 723 (2022)
         (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324
         (2014)). But this is far from the sort of “extraordinary
         case[]” that would give us “‘reason to hesitate before
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         concluding that Congress’ meant to confer such authority.”
         Id. at 721 (quoting Brown & Williamson Tobacco Corp., 529
         U.S. at 159). The FDA is not asserting authority over
         surgery as a general category. Rather, it is asserting
         authority over doctors’ creation or use of products that fall
         within Congress’s definition of “drugs.” That is unlike the
         situations in which the major questions doctrine has been
         applied.
             First, this case does not present a matter of extreme
         “economic and political significance.” Id. (quoting Brown
         & Williamson Tobacco Corp., 529 U.S. at 160); cf. id. at
         724-25 (reasoning that carbon emission standards were
         meant to “substantially restructure the American energy
         market”); Biden v. Nebraska, 143 S. Ct. 2355, 2373 (2023)
         (noting that the significance of the student loan forgiveness
         program was “staggering by any measure,” with an
         economic impact amounting to “nearly one-third of the
         Government’s $1.7 trillion in annual discretionary
         spending”); Ala. Ass’n of Realtors v. Dep’t of Health &
         Hum. Servs., 594 U.S. 758, 764 (2021) (per curiam)
         (describing the “sheer scope” of an eviction moratorium,
         which covered at least 80% of the country).
             Second, the FDA’s regulation of human cell and tissue
         products does not represent a sudden assertion or
         “transformative expansion” of authority. West Virginia, 597
         U.S. at 724 (quoting Util. Air., 573 U.S. at 324). The FDA’s
         assertion of power rests on key provisions of the FDCA, not
         a rarely used “gap filler.” Id. And the FDA’s regulation of
         human cell and tissue products is longstanding. As early as
         1993, the FDA was regulating “somatic cell therapy
         products,” including “autologous” cell therapies (i.e.,
         therapies using a patient’s own cells), as “drugs” under the
         FDCA. Application of Current Statutory Authorities to
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         Human Somatic Cell Therapy Products and Gene Therapy
         Products, 58 Fed. Reg. 53248, 53249 (Oct. 14, 1993). In
         1997, the FDA proposed its current “unified approach to the
         regulation of both traditional and new [human cellular and
         tissue-based] products.” FDA, Proposed Approach to
         Regulation of Cellular and Tissue-Based Products 6 (Feb.
         28, 1997) (“Proposed Approach”); 66 Fed. Reg. at 5447-69
         (finalizing the rule in 2001).
             Third, unlike in the only Supreme Court case addressing
         the major questions doctrine in the context of the FDCA,
         there is no mismatch between Defendants’ SVF and the
         statutory scheme. In Brown & Williamson Tobacco Corp.,
         the Court held that the FDA did not have authority over
         tobacco products. 529 U.S. at 161. The Court reasoned that
         faithful application of the FDCA—which requires that the
         FDA balance a product’s therapeutic benefits against the risk
         of harm—would require an outright ban on tobacco products
         because they cannot safely be used for any therapeutic
         benefit. Id. at 141-43. But a ban would have contradicted
         Congress’s clear intent in tobacco-specific legislation to
         permit the sale of tobacco products. Id. at 143. Thus, “there
         is no room for tobacco products within the FDCA’s
         regulatory scheme.” Id. Here, by contrast, SVF fits
         comfortably within the FDCA because it is sold and
         administered to patients for therapeutic purposes, and there
         is no reason to think that Congress intended it to be outside
         the FDCA’s scope. In fact, recent legislation suggests that
         Congress presupposes that the FDA regulates stem cell
         therapies. See 21st Century Cures Act, Pub. L. No. 114-255,
         § 3033, 130 Stat. 1033, 1101-03 (2016) (codified as
         amended at 21 U.S.C. § 356) (amending a section of the
         FDCA to create an expedited review process for
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         “regenerative advanced therapies,” including “cell therapy”
         and “human cell and tissue products”).
             Consistent with the Supreme Court’s instruction that the
         FDCA’s definition of “drug” is “as broad as its literal
         language indicates,” Bacto-Unidisk, 394 U.S. at 798, we
         hold that Defendants’ SVF is a “drug.”
                                        *    *     *
         Part III.C:
         SUNG, Circuit Judge, with whom WARDLAW, Circuit
         Judge, joins:
                                             C.
             Defendants argue that even if their SVF is a “drug,” their
         same-day SVF treatment is completely exempt from FDA
         regulation under what is called the “same surgical
         procedure” exception (“SSP exception”).5           The SSP
         exception applies to “an establishment that removes
         HCT/P’s from an individual and implants such HCT/P’s into
         the same individual during the same surgical procedure.” 21
         C.F.R. § 1271.15(b). The FDA maintains that the SSP
         exception does not apply to Defendants’ same-day SVF
         treatment. On appeal, the parties do not dispute the facts
         about the same-day SVF treatment. Rather, they offer
         competing interpretations of the SSP exception. For the
         reasons explained below, we conclude that the FDA’s
         interpretation is correct, and we hold that Defendants’ same-



         5
           Defendants do not challenge the district court’s conclusion that their
         use of SVF in the “expanded” version of the treatment, which involves
         shipping the tissue to a cell bank and culturing cells, does not fall under
         the SSP exception.
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         day version of the SVF treatment does not qualify for the
         SSP exception.
                                       1.
              “If [a] regulation is unambiguous and ‘there is only one
         reasonable construction of [the] regulation,’ then we” simply
         apply that meaning. Mountain Cmtys. for Fire Safety v.
         Elliott, 25 F.4th 667, 675 (9th Cir. 2022) (quoting Kisor v.
         Wilkie, 588 U.S. 558, 575 (2019)). If the text seems to have
         more than one plausible meaning, then we must try to
         resolve the ambiguity by “carefully consider[ing] the text,
         structure, history, and purpose of [the] regulation.” Kisor,
         588 U.S. at 575 (internal quotation marks and citation
         omitted). If, after “exhaust[ing] all the ‘traditional tools’ of
         construction,” we determine that “the interpretive question
         still has no single right answer,” then we consider whether
         the agency’s interpretation is reasonable, and if so, whether
         it is entitled to deference under Auer v. Robbins, 519 U.S.
         452 (1997). Id. at 575–76. But, in many cases, our tools of
         construction will resolve the seeming ambiguity “out of the
         box, without resort to Auer deference.” Id. at 575.
                                       2.
             Again, the SSP exception applies to: “[A]n
         establishment that removes HCT/P’s from an individual and
         implants such HCT/P’s into the same individual during the
         same surgical procedure.”          21 C.F.R. § 1271.15(b).
         “HCT/Ps” are defined as “articles containing or consisting
         of human cells or tissues that are intended for implantation,
         transplantation, infusion, or transfer into a human recipient.”
         Id. § 1271.3(d).
            The FDA and Defendants agree on several important
         points. First, they agree that the SSP exception applies to a
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         procedure only if the removed HCT/P and the implanted
         HCT/P are “the same.” Second, they agree that fat tissue is
         an HCT/P, and that the SVF procedure removes fat tissue,
         but implants SVF. Third, they agree that Defendants subject
         the removed fat tissue to significant processing to produce
         SVF. Fourth, they agree that fat tissue and SVF are not the
         same. In the FDA’s view, all this adds up to an easy case:
         Because fat tissue and SVF are not the same, the SSP
         exception does not apply to the SVF procedure.
              But, Defendants point out (and the FDA does not
         dispute) that the cells they extract from the fat tissue are also,
         by definition, HCT/Ps. Consequently, the SVF procedure
         can be characterized as removing two different kinds of
         HCT/Ps: the fat tissue and the cells within the fat tissue.
         When determining whether a procedure removes and
         implants the same HCT/Ps, Defendants argue that the SSP
         exception requires us to compare the implanted HCT/P with
         the HCT/P that was “the target of the removal, rather than
         the largest system removed.” Under that interpretation of
         the SSP exception, the SVF procedure removes and implants
         the same HCT/Ps because it targets the cells within fat tissue
         for removal and implants those cells. And, under that
         interpretation, the SVF procedure removes and implants the
         same HCT/Ps even though Defendants subject the removed
         fat tissue to significant processing to extract and isolate the
         targeted cells. In Defendants’ view, the SSP exception
         applies no matter how much processing the removed tissue
         undergoes, so long as the extracted cells are implanted in the
         same surgical procedure.6

         6
          It is undisputed that Defendants’ same-day treatment involves the same
         patient and the “same surgical procedure” as required for the SSP
         exception.
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             The FDA maintains that the SSP exception requires us to
         view the removed HCT/P as a whole, before it has
         undergone any significant processing.         Under that
         interpretation, the HCT/P removed by the SVF procedure is
         the fat tissue, not the cells.
              Thus, the parties’ interpretive dispute boils down to the
         following question: When determining whether the removed
         and implanted HCT/Ps are the same, which removed HCT/P
         is the correct comparator? Do we consider the HCT/P that
         was removed as a whole, before any significant processing?
         Or only the portion of the removed HCT/P that will be
         implanted, even if extensive processing is needed to extract
         that portion from the whole?
             Each party argues that its interpretation is compelled by
         the regulation’s text. The FDA focuses on the word “such,”
         which is used to refer back to something already
         mentioned—an antecedent. Such, Black’s Law Dictionary
         (12th ed. 2024) (defining “such” as “[t]hat or those; having
         just been mentioned”). Therefore, the phrase “removes
         HCT/P’s from an individual and implants such HCT/P’s into
         the same individual” means that, to fall under the SSP
         exception, the HCT/P implanted must be the same HCT/P
         removed. But, as discussed above, Defendants concede that
         the removed and implanted HCT/P must be the same, and
         instead argue that the implanted SVF should be compared to
         the cells within the removed tissue, not the tissue as a whole.
         The term “such” does not tell us which comparator to use.
             For their part, Defendants focus on the regulatory
         definition of HCT/Ps. Recall that the FDA defines HCT/Ps
         as “articles containing or consisting of human cells or tissues
         that are intended for implantation, transplantation, infusion,
         or transfer into a human recipient.” 21 C.F.R. § 1271.3(d).
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         Defendants first argue that the definition signals that the
         focus in the SSP exception should be on the article that the
         doctor “intend[s] for implantation”—here, the cells. But the
         HCT/P definition includes an article that “contain[s]” the
         cells that are intended for implantation. And here, the
         removed fat tissue contains the cells that are intended for
         implantation. Thus, even if the doctor’s intent is relevant,
         the fat tissue could still be the correct comparator.
             Defendants next argue that the FDA’s focus on the
         largest system removed would render part of the HCT/P
         definition superfluous. The definition refers to “cells or
         tissues,” and Defendants argue that cells can generally only
         be removed from the body within tissue or other larger
         systems. It is true that isolated cells would rarely fall under
         the SSP exception as interpreted by the FDA. But rarely
         does not mean never. As the FDA points out, at least one
         type of cell can be removed in isolation,7 and the regulation
         addresses an area of evolving science. Moreover, the HCT/P
         definition does not apply solely to the SSP exception—it
         applies across numerous provisions regulating cells or cell-
         based products. Id. § 1271.3 (establishing definitions that
         apply across 21 C.F.R. pt. 1271); see also, e.g., id.
         § 1271.145 (providing that HCT/Ps must be stored “in a way
         that prevents the introduction, transmission, or spread of
         communicable diseases”). Thus, even if the inclusion of
         “cells” in the definition of “HCT/P” served no purpose in the
         context of the SSP exception, the word “cells” would not be
         superfluous in the context of those other provisions.
             In sum, neither party’s textual arguments fully resolve
         the interpretive dispute. Although the FDA’s reading is

         7
          The FDA’s expert testified that she was aware of one type of cell that
         can be removed in isolation: an ovocyte, or egg cell.
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         more straightforward and consistent with the SSP
         exception’s plain text, Defendants’ reading is plausible. So,
         we consider the SSP exception’s context and structure.
             The SSP exception is part of a broader framework that
         regulates the “manufacture” of HCT/Ps. “Manufacture
         means, but is not limited to, any or all steps in the recovery,
         processing, storage, labeling, packaging, or distribution of
         any human cell or tissue . . . .” Id. § 1271.3(e). As noted
         above, this framework establishes three tiers of regulation
         for HCT/Ps: 1) full regulation; 2) limited exemption from
         regulation; and 3) complete exemption from regulation.
         HCT/Ps are subject to full regulation unless they qualify for
         an exception. Id. § 1271.20. To qualify for limited
         exemption from regulation, an HCT/P must meet the criteria
         set out in § 1271.10(a); in relevant part, the HCT/P cannot
         be more than “minimally manipulated.”8 There are several
         ways to qualify for complete exemption, including by
         meeting the requirements for the SSP exception at issue here.
         See id. § 1271.15.9
             The FDA points out that when an HCT/P is more than
         “minimally manipulated,” it is subject to full regulation.
         Thus, the FDA argues, the SSP exception should not be
         interpreted as completely exempting procedures that involve
         substantial manipulation of HCT/Ps. Defendants, however,

         8
           HCT/Ps in this category must also be “intended for homologous use
         only,” meaning the HCT/P must perform the “same basic function” when
         reimplanted; must “not involve the combination of the cells or tissues
         with another article;” and must “not have a systemic effect” (with some
         additional nuances to those requirements).                 21 C.F.R.
         §§ 1271.10(a)(2)-(4), 1271.3(c).
         9
          Defendants do not dispute that they manufacture HCT/Ps; they argue
         only that they qualify for the SSP exception.
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         point out that the limited exemption expressly incorporates
         the minimal manipulation requirement, see 21 C.F.R.
         § 1271.10(a), but the SSP exception does not, see id.
         § 1271.15(b). That omission, Defendants argue, implies that
         a surgical procedure can qualify for the SSP exception
         regardless of how much an HCT/P is manipulated. That is,
         a surgical procedure could “alter the relevant biological
         characteristics”10 of the cells or tissues that are implanted
         and still qualify for the SSP exception.11 In Defendants’
         view, “it is not strange at all that some procedures would be
         exempted under the SSP exception, even if they would not
         qualify for the [limited] minimal manipulation exemption”
         provided for under § 1271.10(a), because the limited
         exemption is “available to establishments that transfer
         HCT/Ps from one donor to a different recipient,” while the
         SSP exemption is available only to establishments that
         remove HCT/Ps and implant them back into the same
         patient.
             In our view, the FDA’s understanding of the regulatory
         framework makes more sense: The tiered structure more
         strongly implies that a surgical procedure cannot qualify for
         the SSP exception if it involves more than minimal
         manipulation of HCT/Ps. But, even assuming the FDA is
         right about that point, the SVF procedure could still qualify
         for the SSP exception—if the correct comparator is the cells,
         not the fat tissue. That’s because the regulations define
         “minimal manipulation” differently for structural tissue
         (which includes fat tissue), see id. § 1271.3(f)(1), and cells

         10
              21 C.F.R. § 1271.3(f) (defining minimal manipulation).
         11
            Although Defendants maintain that the SVF procedure does not
         biologically alter the stromal vascular cells targeted for implantation,
         under their interpretation of the SSP exception, that fact is irrelevant.
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         or nonstructural tissues, see id. § 1271.3(f)(2). For fat tissue,
         minimal manipulation means “processing that does not alter
         the original relevant characteristics of the tissue relating to
         the tissue’s utility for reconstruction, repair, or
         replacement.” Id. § 1271.3(f)(1). But for cells, minimal
         manipulation means “processing that does not alter the
         relevant biological characteristics of cells.”                Id.
         § 1271.3(f)(2). It is undisputed that Defendants’ SVF
         procedure significantly alters the removed fat tissue to
         produce the implanted SVF. But, the district court
         specifically found that the procedure does not biologically
         alter the cells that Defendants extract from the fat tissue, and
         the FDA has not challenged that finding on appeal. Thus, if
         the targeted cells are the correct comparator, as Defendants
         argue, then the SVF procedure does not involve more than
         minimal manipulation.
             All this means that we still need to figure out whether the
         correct comparator is the removed HCT/P as a whole or only
         the portion targeted for removal. Because neither the SSP
         exception nor the related regulations expressly answer that
         question, we turn to the regulations’ purpose and history.
             When the FDA first proposed the HCT/P regulatory
         framework, it explained that, “[i]n the past, most human
         tissue used in medicine was comprised of such body
         components as skin, bone, corneas, and heart valves that
         were transplanted for replacement purposes, and semen and
         ova implanted for reproductive purposes.” Proposed
         Approach at 8. And, the “FDA’s regulation of the
         conventional tissues used for replacement purposes ha[d]
         focused on preventing the transmission of communicable
         disease . . . .” Id. However, “[i]n recent years, scientists
         ha[d] developed innovative methods of manipulating and
         using human cells and tissues for therapeutic uses,” and the
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         FDA identified several public health and regulatory
         concerns associated with the use of such products. Id. at 9.
         Thus, the FDA proposed regulating cells and tissues “with a
         tiered approach based on risk and the necessity for FDA
         review.” Id.
             A chief purpose of the regulations would be “ensuring
         that clinical safety and effectiveness is demonstrated for
         tissues that are highly processed.” Id. at 6. The FDA stated
         its intent to “require that cells and tissues be handled
         according to procedures designed to prevent contamination
         and to preserve tissue function and integrity.” Id. at 6-7. The
         FDA explained, “Improper handling can alter or destroy the
         integrity or function of cells or tissues. Improper handling
         also can allow cells or tissues to become contaminated (e.g.,
         bacterial contamination during collection, processing,
         storage, or transplantation, or cross contamination from
         other contaminated tissues).” Id. at 15.
             In this context, the FDA also stated that it “would not
         assert any regulatory control over cells or tissues that are
         removed from a patient and transplanted back into that
         patient during a single surgical procedure,” because “[t]he
         communicable disease risks, as well as safety and
         effectiveness risks, would generally be no different from
         those typically associated with surgery.” Id. at 12.12 The

         12
            Defendants argue that their interpretation of the SSP exception is
         supported by the FDA’s statement that “[a]utologous use of cells and
         tissues harvested and transplanted in a single surgical procedure would
         be subject to no FDA oversight.” Proposed Approach at 15 (emphasis
         added). They assert that the FDA must have known that cells generally
         cannot be removed from the body in isolation, so the FDA must have
         intended for the SSP exception to cover procedures that process tissue to
         extract cells. Because that assertion is unfounded, Defendants’ argument
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         FDA identified “skin or vein grafts” as examples of surgical
         procedures that would qualify for complete exemption from
         regulation. Id. at 20.
             Consistent with the FDA’s proposal, the final rule
         established “a tiered, risk-based regulatory scheme that . . .
         tailor[s] the degree of scrutiny afforded to different HCT/P’s
         to the risks associated with each of them.” See 66 Fed. Reg.
         at 5464. The SSP exception is at the bottom tier: procedures
         covered by the SSP exception are completely exempt from
         regulation. This means that covered procedures should
         involve relatively low risk—risk no greater than that
         typically associated with conventional surgery. And,
         because processing HCT/Ps introduces risk, covered
         procedures should not involve significant processing.
             Defendants’ interpretation of the SSP exception conflicts
         with the HCT/P regulations’ structure and purposes. Under
         their interpretation, the SSP exception would exempt
         surgical procedures that subject HCT/Ps to substantial
         processing, even if such processing introduces risk far
         greater than that associated with conventional surgery.
         HCT/Ps could be subjected to any number of processing
         steps to isolate, extract, or potentially even recombine its
         subcomponents (perhaps in ways currently unimaginable)
         with no FDA oversight, so long as those subcomponents




         is unpersuasive. As noted above, egg cells can be removed in isolation,
         and the FDA was anticipating scientific advances when it proposed the
         HCT/P regulations. See id. at 8 (discussing implantation of ova for
         reproductive purposes); id. at 27 (discussing intent to balance protecting
         public health with encouraging research and innovation).
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         came from the same person and were removed and
         implanted on the same day.13
             The FDA’s interpretation is more consistent with the
         SSP exception’s plain meaning. And it is the only
         interpretation that makes sense in light of the HCT/P
         regulations’ tiered, risk-based framework, and its purpose
         and history. The seeming textual ambiguity is resolved in
         the FDA’s favor.14 When determining whether a surgical
         procedure “removes HCT/P’s and implants such HCT/P’s,”
         the removed HCT/P must be viewed as a whole, before any
         significant processing. For Defendants’ SVF procedure, the
         removed HCT/P is the fat tissue, not the cells targeted for
         implantation. Because the SVF procedure removes fat tissue
         but implants SVF, the procedure is not exempt from
         regulation under the SSP exception.
                                          *     *    *
            We REVERSE                    and       REMAND          for     further
         proceedings.15




         13
           In an exceedingly similar case regarding “body-fat derived stem cell
         therapy,” the Eleventh Circuit agreed with the FDA that, to qualify for
         the SSP exception, “‘such HCT/Ps’ must be in their original form (rather
         than subjected to extensive processing).” United States v. US Stem Cell
         Clinic, LLC, 998 F.3d 1302, 1305, 1310 (11th Cir. 2021) (“hold[ing] the
         same surgical procedure exception unambiguously does not apply”). We
         agree with the Eleventh Circuit’s reasoning and conclusion.
         14
           Because no genuine ambiguity remains, we do not need to decide
         whether the FDA’s interpretation is entitled to Auer deference.
         15
              Defendants shall bear all costs of appeal. See Fed. R. App. P. 39(a)(3).
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         FRIEDLAND, Circuit Judge, concurring in the result of part
         III.C:

             I agree with the majority’s conclusion that Defendants’
         same-day version of the SVF treatment does not fall under
         the SSP exception, but I would arrive at this conclusion for
         a different reason. I believe that the SSP exception provision
         is ambiguous, and that we owe deference to the FDA’s
         interpretation of it.
                                       1.
             When the meaning of a regulation is in doubt, “we must
         ‘look to the administrative construction of the regulation.’”
         Goffney v. Becerra, 995 F.3d 737, 744 (9th Cir. 2021)
         (quoting Bowles v. Seminole Rock & Sand Co., 325 U.S. 410,
         413-14 (1945)). The practice of deferring to agency
         interpretations of ambiguous regulations is commonly
         known as Auer deference. Id. (citing Auer v. Robbins, 519
         U.S. 452 (1997)).
             An agency is entitled to Auer deference only when the
         regulation in question is “genuinely ambiguous,” meaning
         that it is “susceptible to more than one reasonable reading.”
         Kisor v. Wilkie, 588 U.S. 558, 566, 573 (2019). In cabining
         the scope of Auer deference, the Supreme Court has
         cautioned that we “cannot wave the ambiguity flag just
         because [we] found the regulation impenetrable on first
         read.” Id. at 575. Instead, we must first “exhaust all the
         traditional tools of construction” by examining the “text,
         structure, history, and purpose of a regulation.” Id.
         (quotation marks omitted). “[O]nly when that legal toolkit
         is empty and the interpretive question still has no single right
         answer” can we consider deferring to an agency’s reasonable
         interpretation. Id. at 575-76. Before deferring, we must also
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         confirm that “the interpretation is the agency’s authoritative
         or official position, the interpretation in some way implicates
         the agency’s substantive expertise, and the agency’s reading
         of its rule reflects the agency’s fair and considered
         judgment.” Nat’l Parks Conservation Ass’n v. FERC, 6
         F.4th 1044, 1050-51 (9th Cir. 2021) (citing Kisor, 588 U.S.
         at 574-79).
                                       2.
             As to the text of the HCT/P regulations, I agree with the
         majority’s thoughtful analysis, which concludes that the text
         does not provide a clear answer to the interpretive dispute.
         My analysis diverges from the majority’s only when we turn
         to the purpose and history of the HCT/P regulations.
         Although the majority concludes that the regulations’
         purpose and history support the FDA’s interpretation, I
         believe that evidence cuts both ways, leaving the SSP
         exception genuinely ambiguous.
             The FDA’s reading of the SSP exception, focusing on
         the tissue removed from the body rather than only the
         targeted cells within that tissue, appears to be consistent with
         the purpose of the HCT/P regulations. In its 1997 proposal
         for the current regulatory approach, the FDA stated it was
         concerned with the “clinical safety and effectiveness . . . [of]
         tissues that are highly processed” and the risk that processing
         and/or improper handling could result in contamination or
         damage to tissue or cell function and integrity. FDA,
         Proposed Approach to Regulation of Cellular and Tissue-
         Based Products 6, 7 (1997) (“Proposed Approach”); see
         also id. at 9 (listing overarching public health concerns).
         The FDA’s concern with contamination and safety,
         particularly when an HCT/P is processed and manipulated,
         is consistent with requiring an HCT/P to be in its “original
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         form” as it was in the body for it to be excepted from
         regulation. FDA, Same Surgical Procedure Exception
         Under 21 CFR 1271.15(b): Questions and Answers
         Regarding the Scope of the Exception 5 (2017).
             But other statements by the FDA in the leadup to the
         promulgation of the HCT/P regulations support Defendants’
         argument that the SSP exception was always meant to
         capture targeted cells. For example, the FDA stated that
         “[a]utologous use of cells and tissues harvested and
         transplanted in a single surgical procedure would be subject
         to no FDA oversight.” Proposed Approach at 15 (emphasis
         added). Defendants point out that the FDA must have
         known that cells generally cannot be removed from the body
         in isolation, so some processing would be required.1
             Additionally, the FDA’s Proposed Approach indicated
         that certain amounts of cell and tissue processing could
         occur without there being a concerning amount of
         manipulation. Within the context of creating a regulatory
         framework to prevent “product contamination” and loss of
         “product integrity and function” in the processing of
         HCT/Ps, the FDA identified example procedures that it
         considered “minimal manipulation.” Id. at tbl. 1; id. at 16.
         These included “extraction or separation of cells from
         structural tissue, in which the remaining structural tissue’s
         characteristics relating to carrying out reconstruction and/or
         repair were unaltered,” and “selection of stem cells from


         1
           Although the FDA was aware that one type of cell—egg cells, or
         oocytes—can be removed in isolation, it likely was not referring to egg
         cells in the context of the SSP exception. Egg cells generally would not
         be removed and then implanted in the same person during a single
         surgical procedure. In vitro fertilization, for example, cannot be
         accomplished within a single surgical procedure.
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         amongst lymphocytes and mature cells of other lineages.”
         Id. at 16, 18. Compared to Defendants’ same-day SVF
         procedure, these example procedures seem to present
         comparable levels of complexity and risk for contamination
         or damage to product function and integrity. In contrast, the
         FDA identified procedures such as cell “expansion,
         encapsulation, activation, or genetic modification,” as
         involving concerning amounts of manipulation. Id. at 17-
         18; Establishment Registration and Listing for
         Manufacturer of Human Cellular and Tissue-Based
         Products, 63 Fed. Reg. 26744, 26748 (May 14, 1998)
         (same). Particularly given the district court’s factual finding
         that the targeted cells are not altered by Defendants’ same-
         day SVF procedure, the distinctions in levels of
         manipulation discussed in the Proposed Approach suggest
         that the procedure does not trigger the FDA’s core regulatory
         concerns, supporting Defendants’ interpretation of the SSP
         exception.
             Because the HCT/P regulations’ text, structure, purpose,
         and history do not determine whether we should view the
         relevant antecedent HCT/P as the targeted cells or the whole
         system removed from the body, I believe our “legal toolkit
         is empty and the interpretive question still has no single right
         answer.” Kisor, 588 U.S. at 575. I view the SSP exception
         as genuinely ambiguous because both the FDA’s and
         Defendants’ interpretations are reasonable.2

         2
          I recognize that in a similar case, the Eleventh Circuit agreed with the
         FDA’s interpretation of the SSP exception and concluded that the
         exception was unambiguous. See United States v. US Stem Cell Clinic,
         LLC, 998 F.3d 1302, 1308-10 (11th Cir. 2021). Although I agree with
         parts of the Eleventh Circuit’s analysis, for the reasons explained I do
         not agree that the tools of interpretation lock in the FDA’s reading as the
         only reasonable one.
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                                           3.
             Because I conclude that the SSP is ambiguous, I now
         discuss the remaining criteria for deferring to an agency’s
         interpretation of a regulation and explain why they lead me
         to ultimately agree with the majority that the FDA’s
         interpretation prevails.
             First, there is no doubt that the FDA’s interpretation is
         the agency’s “‘authoritative’ or ‘official position.’” Id. at
         577 (quoting United States v. Mead Corp., 533 U.S. 218,
         257-59, 258 n.6 (2001) (Scalia, J., dissenting)). The
         Supreme Court in Kisor explained that an “authoritative”
         interpretation is one “actually made by the agency . . . rather
         than any more ad hoc statement not reflecting the agency’s
         views.” Id. The FDA’s interpretation of the SSP exception
         comes from an official guidance document, drafted and
         finalized “consistent with FDA’s good guidance practices
         regulation.” Same Surgical Procedure Exception: Questions
         and Answers Regarding the Scope of the Exception;
         Guidance for Industry; Availability, 82 Fed. Reg. 54289,
         54290 (Nov. 17, 2017) (citing 21 C.F.R. § 10.115(a)). That
         regulation states that such guidance documents “describe the
         agency’s interpretation of or policy on a regulatory issue”
         and “represent the agency’s current thinking.” 21 C.F.R.
         § 10.115(b)(1), (d)(3). The FDA’s interpretation of the SSP
         exception thus “emanate[s] from those actors, using those
         vehicles, understood to make authoritative policy in the
         relevant context.”3 Kisor, 588 U.S. at 577.


         3
          Contrary to Defendants’ assertions, an agency interpretation need not
         establish legally enforceable responsibilities to be sufficiently
         authoritative for Auer deference purposes. See, e.g., Auer, 519 U.S. at
         462 (deferring to an amicus brief).
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             The FDA’s interpretation also implicates its substantive
         expertise in protecting public health by assessing and
         addressing risks. See, e.g., 21 U.S.C. § 393. The HCT/P
         framework is a “complex and highly technical regulatory
         program” that reflects such risk assessments. Kisor, 588
         U.S. at 572 (quoting Thomas Jefferson Univ. v. Shalala, 512
         U.S. 504, 512 (1994)). Courts are not in a good position to
         assess which protocols, procedures, or uses of human cell
         and tissue products pose health risks warranting regulation.
         The interpretive issue in this case certainly does not “fall
         more naturally into a judge’s bailiwick.” Id. at 578.
             Finally, the FDA’s reading of the SSP exception reflects
         “fair and considered judgment” and does not present unfair
         surprise. Id. at 579 (quoting Christopher v. SmithKline
         Beecham Corp., 567 U.S. 142, 155 (2012)). The FDA has
         taken the position that fat-derived SVF does not fall within
         the SSP exception since at least 2014, when it first issued
         draft guidance in response to “numerous inquiries regarding
         HCT/Ps manufactured from [fat] tissues.” FDA, Human
         Cells, Tissues, and Cellular and Tissue-Based Products
         (HCT/Ps) From Adipose Tissue: Regulatory Considerations
         2, 7-8 (2014); Human Cells, Tissues, and Cellular and
         Tissue-Based Products From Adipose Tissue: Regulatory
         Considerations; Draft Guidance for Industry; Availability,
         79 Fed. Reg. 77414 (Dec. 24, 2014) (announcing draft
         availability). Indeed, Defendants admitted that they were
         aware that one of their affiliates received a warning letter
         from the FDA in 2015 stating that their use of fat-derived
         SVF violated the FDCA. Based on that history, the FDA’s
         current interpretation is not merely a “convenient litigating
         position.” Kisor, 588 U.S. at 579 (quoting Christopher, 567
         U.S. at 155).
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                                     ***
             Because I conclude that the SSP exception is ambiguous,
         the FDA’s interpretation is reasonable, and all the remaining
         criteria for Auer deference are satisfied, I would defer to the
         FDA’s interpretation.       Under that interpretation, the
         antecedent HCT/P here is the removed fat tissue, and the
         SVF implanted is not “such HCT/P.” Thus, I agree with the
         majority that Defendants’ treatments do not fall under the
         SSP exception.
